          Case 16-01114            Doc 21       Filed 09/06/18 Entered 09/07/18 01:06:49                         Desc Imaged
                                                Certificate of Notice Page 1 of 2
                                               United States Bankruptcy Court
                                                 District of Massachusetts
Baker,
              Plaintiff                                                                           Adv. Proc. No. 16-01114-jnf
Bisasor,
              Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 0101-1                  User: meh                          Page 1 of 1                          Date Rcvd: Sep 04, 2018
                                      Form ID: pdf012                    Total Noticed: 3


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 06, 2018.
dft            +Andre Bisasor,   119 Drum Hill Road #233,    Chelmsford, MA 01824-1505
pla            +David G. Baker,   236 Huntington Ave.,    Suite 306,   Boston, MA 02115-4701

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
ust            +E-mail/Text: ustpregion01.bo.ecf@usdoj.gov Sep 05 2018 00:14:03     John Fitzgerald,
                 Office of the US Trustee,   J.W. McCormack Post Office & Courthouse,
                 5 Post Office Sq., 10th Fl, Suite 1000,   Boston, MA 02109-3901
                                                                                            TOTAL: 1

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 06, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 4, 2018 at the address(es) listed below:
              David G. Baker    on behalf of Plaintiff David G. Baker
               bkecf@bostonbankruptcy.org;ecf@bostonbankruptcy.org
              Dmitry Lev     on behalf of Defendant Andre Bisasor dlev@levlaw.net, ecf-notices@levlaw.net
              Michael B. Feinman    on behalf of Mediator Michael B. Feinman mbf@feinmanlaw.com,
               kmk@feinmanlaw.com
                                                                                             TOTAL: 3
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                         Certificate of Notice Page 2 of 2
